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                                 UNITED STATES DISTRICT COURT
                                   DISTRICT OF MASSACHUSETTS
------------------------------------------------------x
JOHN DOE,                                             | Case No.
                                                      |
                           Plaintiff,                 |
         v.                                           |
                                                      |
MASSACHUSETTS INSTITUTE OF                            |
TECHNOLOGY,                                           |
                                                      |
                           Defendant.                 |
------------------------------------------------------x

                               COMPLAINT AND JURY DEMAND

         PLAINTIFF JOHN DOE (“John Doe,” a pseudonym),1 by his attorneys Nesenoff &

Miltenberg LLP, as and for his Complaint against DEFENDANT MASSACHUSETTS

INSTITUTE OF TECHNOLOGY (“MIT”), respectfully alleges as follows:

                                THE NATURE OF THIS ACTION

         1.       This breach of contract, promissory estoppel and breach of contract/common law

denial of basic fairness/arbitrary and capricious decision-making suit is brought on behalf of

Plaintiff John Doe, who was expelled from MIT within a month of graduation for alleged sexual

misconduct that purportedly occurred over a year earlier and that he did not commit; the expulsion

was issued after an unfair process not in compliance with the MIT Student Code’s commitment to

non-discrimination based on sex.

         2.       In January 2016, John Doe was a third-year student at MIT on a three-year program.

On January 26, 2016, John Doe’s former girlfriend “Jane Roe” (a pseudonym) filed a complaint

with MIT alleging nonconsensual sexual contact and nonconsensual sexual intercourse by John




1   Plaintiff John Doe has filed herewith a motion to proceed by pseudonym.
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Doe based on one night involving sexual intercourse on February 27, 2015, almost a year earlier

than when the complaint was filed by Jane Roe with MIT ’s Title IX Office. During the course of

the investigation, MIT’s investigators on its own initiative asserted a second charge against Doe,

for sexual harassment, arising from the period of time when Doe was Roe’s boyfriend in the 2013-

2014 school year, two years prior to Roe’s filing of the complaint with MIT’s Title IX Office.

        3.       Upon the filing of Jane Roe’s disciplinary complaint, MIT’s Title IX office

launched an investigation, interviewing John Doe, Jane Roe and other students and reviewing

various documents. Radical feminist anti-male bias on the MIT campus guided the investigation

report’s conclusions, which included that John Doe was responsible for (i) nonconsensual sexual

contact and nonconsensual sexual intercourse based on the sex that occurred on February 27, 2015

and (ii) sexual harassment based on the period of time when John Doe was Jane Roe’s boyfriend

in the 2013-2014 school year. MIT presumed the female complainant’s story to be true (which it

wasn’t), and presumed John Doe not to be truthful (which wasn’t the case) in order to avoid being

found responsible. Importantly, MIT failed to provide John Doe an opportunity to submit a written

rebuttal to the investigation report.

        4.       On April 25, 2016, MIT held a hearing before a panel of three professors. At the

hearing, John Doe denied responsibility. Only two days later, on April 27, 2016, the Chair of the

MIT Committee on Discipline sent John Doe a letter informing him that MIT found him

responsible for nonconsensual sexual contact and nonconsensual sexual intercourse on February

27, 2015 and for sexual harassment during the time of the 2013-2014 school year and notified him

that the sanction was expulsion -- in effect, rubber stamping the investigation report.

        5.       Even though John Doe filed an appeal, arguing that the evidence did not support

MIT’s findings or the severe sanction of expulsion. MIT denied the appeal on May 13, 2016,



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permanently expelling John Doe, just weeks shy of his graduation. John Doe, having experienced

the losses resulting from having a disciplinary record he did not deserve and not having his diploma

that he all but earned, brings this action to rectify the real damage to his life.

                                           THE PARTIES

        6.       John Doe is a natural person who is a citizen of New Jersey, residing with his wife

in Jersey City, New Jersey, while working as a software engineer. Until the MIT disciplinary

proceeding that was brought as a result of Jane Roe’s belated university complaint and that ended

in expulsion, John Doe had an unblemished disciplinary record at MIT.

        7.       MIT is an educational institution located in in the city of Cambridge, in the

Commonwealth of Massachusetts, with a main address of 77 Massachusetts Avenue, Cambridge,

Massachusetts 02139. MIT was incorporated in 1861. The self-stated mission of MIT is to advance

knowledge and educate students in science, technology and other areas of scholarship, and MIT

represents publicly that it seeks to develop in each member of the MIT community the ability and

passion to work wisely, creatively and effectively for the betterment of humankind. The motto of

MIT is “Mens et manus” (“Mind and hand”). As of October 30, 2019, MIT had 4,530

undergraduate students, approximately half of whom were women and half of whom were minority

students. MIT has received and receives federal funding.

                                  JURISDICTION AND VENUE

        8.       This Court has diversity jurisdiction pursuant to 28 U.S.C. § 1332 because there is

complete diversity of citizenship: the Plaintiff John Doe is a citizen of the State of New Jersey and

the Defendant MIT is a citizen of the State of Massachusetts.

        9.       This Court has personal jurisdiction over MIT on the grounds that MIT is

conducting business within the State of Massachusetts and is a resident of the State of


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Massachusetts and that MIT’s actions that are the subject of this action took place in the District

of Massachusetts.

        10.      Venue for this action properly lies in this district pursuant to 28 U.S.C. § 1391

because a substantial part of the events or omissions giving rise to the claim occurred in this

judicial district.

                 ALLEGATIONS COMMON TO ALL CAUSES OF ACTION

A.      The Contract: MIT’s Mind and Hand Book and Federal Regulation.

        11.      At the time of John Doe’s disciplinary case at MIT, the 2015 MIT Mind and Hand

Book was in effect. The Mind and Hand Book was published by the MIT Division of Student Life

and took its name from MIT’s motto “Mens et manus,” which is Latin for “Mind and hand.” The

Mind and Hand Book provided the standards, regulations and procedures to govern the behavior

conduct of all undergraduate and graduate students.

        12.      The Policies Regarding Student Behavior, Sexual Misconduct (p. 29) section of the

2015 MIT Mind and Hand Book, II (22) states:

         MIT is committed to providing a productive living and learning community in which
         students can pursue their educational goals. Sexual misconduct undermines this
         commitment and affects the ability of students to focus on their educational achievement.
         Therefore, MIT will not tolerate nor condone any form of sexual misconduct. MIT
         students are prohibited from engaging in sexual misconduct, as defined below. Moreover,
         MIT may take additional action in response to sexual misconduct as part of federal Title
         IX requirements (see http://titleix.mit.edu). No one shall be retaliated against for
         participating in the Institute’s complaint resolution procedure in good faith as a
         complainant, a witness, an investigator, or in any other capacity.

        13.      That same section of the 2015 MIT Mind and Hand Book continues on to define

and outline consent (p. 30) as follows:

        Effective consent must be obtained for each instance and each escalation of sexual
        activity. Obtaining effective consent is the responsibility of the party initiating
        sexual activity. Doing otherwise may constitute sexual misconduct and is a
        violation of MIT policy. Effective Consent is:

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                • informed;
                • freely and actively given;
                • mutually understandable words or actions;
                • which indicate a willingness to participate in
                • mutually agreed upon sexual activity.

         Further:

                • Initiators of sexual activity are responsible for obtaining effective consent.
                • Silence or passivity is not effective consent.
                • The use of intimidation, coercion, threats, force, or violence negates any
                consent obtained.
                • Consent is not effective if obtained from an individual who is incapable of
                giving consent due to one or more of the following or other reasons:
                         • a mental, intellectual, or physical disability; or
                         • is under the legal age to give consent; or
                         • is asleep, unconscious, or physically helpless; or
                         • is incapacitated by alcohol or other drugs.
                • Consent to one type of sexual activity does not imply consent to any other
                or all types of sexual activity.
                • A person can withdraw consent at any time.
                • Consent to sexual activity at one time does not imply consent to the same
                or other sexual activity at any other time.
                • Refusal, lack of consent, or non-consent may be expressed in many ways,
                verbally or physically. Physical resistance is not necessary to communicate
                a lack of consent. It is not necessary to resist physically or express verbally
                to indicate a lack of consent. It is the responsibility of the initiator of the
                sexual activity to obtain effective consent.

         14.    The Policies Regarding Student Behavior, Sexual Misconduct (p. 31) section of the

2015 MIT Mind and Hand Book, II (22) states the following regarding consent and the capacity to

do so:

         In evaluating whether a person was incapacitated for purposes of evaluating
         effective consent, the Institute considers two questions: (1) Did the person
         initiating sexual activity know that their partner was incapacitated? and if
         not, (2) Should a sober, reasonable person in the same situation have known that
         their partner was incapacitated? If the answer to either of these questions is “yes,”
         effective consent was absent.

         15.    The Policies Regarding Student Behavior, Sexual Misconduct (p. 33) section of the

2015 MIT Mind and Hand Book, II (22) states:

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       Nonconsensual sexual contact is defined as any physical contact with another
       person of a sexual nature without that person’s effective consent. The touching of
       a person’s intimate parts (such as genitalia, groin, breast, buttocks, mouth, or
       clothing covering same); touching a person with one’s own intimate parts; or
       forcing a person to touch another’s intimate parts would be violations of this policy
       if they occur without effective consent.

       Nonconsensual sexual penetration is defined as the sexual penetration of any bodily
       opening with any object or body part without effective consent. This could be
       committed by force, threat, intimidation, coercion, or through exploitation of
       another’s mental or physical condition (such as lack of consciousness,
       incapacitation due to drugs or alcohol, age, or disability) of which the respondent
       was actually aware or which a reasonable person in the respondent’s position
       should have been aware.

       16.    The Policies Regarding Student Behavior, Sexual Misconduct (p. 32) section of the

2015 MIT Mind and Hand Book, II (22) states:

       Sexual Harassment is unwelcome conduct of a sexual nature, such as unwelcome
       sexual advances, requests for sexual favors, or other verbal or physical conduct of
       a sexual nature, when:

              • submission to such conduct is made either explicitly or implicitly a
              condition of an individual’s employment or academic standing; or
              • submission to, or rejection of, such conduct is used as the basis for
              employment decisions (such as advancement, performance evaluation, or
              work schedule) or academic decisions (such as grading or letters of
              recommendation); or
              • such conduct has the purpose or effect of unreasonably interfering with an
              individual’s working conditions, academic experience, or living conditions,
              or of creating a hostile working, academic, or living environment.

       Even one instance of sexual harassment, if severe enough, may create a hostile
       environment. A non-exhaustive set of examples of conduct that might constitute
       sexual harassment are included below. One or more of these actions will be
       considered sexual harassment only when that conduct has the purpose or effect of
       unreasonably interfering with another individual’s working conditions, academic
       experience, or living conditions, or of creating a hostile working, academic, or
       living environment. . . .

       Examples of verbal sexual harassment may include unwelcome conduct such as
       unwelcome sexual flirtation, advances or propositions or requests for sexual
       activity or dates; asking about someone else’s sexual activities, fantasies,
       preferences, or history; discussing one’s own sexual activities, fantasies,
       preferences, or history; verbal abuse of a sexual nature; suggestive comments;

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       sexually explicit jokes; turning discussions at work or in the academic environment
       to sexual topics; and making offensive sounds such as smacking or licking lips,
       kissing sounds, or “wolf whistles.”

       Examples of nonverbal sexual harassment include unwelcome conduct such as
       displaying sexual objects, pictures or other images; invading a person’s personal
       body space, such as standing closer than appropriate or necessary or hovering;
       displaying or wearing objects or items of clothing which express sexually offensive
       comments; making sexual gestures with hands or body movements; looking at a
       person in a sexually suggestive or intimidating manner; or delivering unwanted
       letters, gifts, or other items of a sexual nature. In addition, nonconsensual sexual
       contact, sexual exploitation, and nonconsensual sexual penetration may constitute
       nonverbal instances of sexual harassment.

       17.    The Policies Regarding Student Behavior, MIT’s Response (p. 34) section of the

2015 MIT Mind and Hand Book, II (22) states:

        Except in those cases where the student has contacted a strictly confidential
        resource, the Institute will conduct a prompt, thorough, and impartial investigation
        and will take appropriate measures to terminate the misconduct, prevent its
        recurrence, and address its effects. This response may include formal disciplinary
        action, which may be instituted by an individual complainant or the Institute itself.
        The sanctions of disciplinary suspension and disciplinary expulsion will be
        strongly considered when a student is found to have violated any part of the
        nonconsensual sexual contact, nonconsensual sexual penetration, sexual
        exploitation, or retaliation provisions of this policy; and for severe violations of
        the sexual harassment provision.

       18.    The Complaint and Disciplinary Procedures (p. 61) section of the 2015 MIT Mind

and Hand Book, VI, states:

        Anyone—including individual students, faculty members, and employees of the
        Institute—may bring a formal complaint against a student to the Committee on
        Discipline (COD). The COD reviews cases of academic offenses, violations of
        Institute regulations and standards, and other infractions alleged to have been
        committed by students.

        A formal complaint against a student must be submitted in writing to OSC. The
        charge and its documentation are transmitted to the chair of the COD. After a
        review of the documentation, the chair will decide whether or not a hearing by the
        COD is warranted, and, if so, what the appropriate forum will be. The COD has
        the authority to impose any sanction it deems appropriate. Possible sanctions
        include placing a letter in a student’s disciplinary file, probation, suspension, and
        expulsion. Sanctions may also include educational and/or restorative components

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        meant to address the wrongdoing and serve the larger community. Detailed
        procedures for resolving complaints alleging that a student has violated MIT
        policies are available online at http://cod.mit.edu/rules and in print from the Office
        of Student Citizenship.

       19.     The Resources, Committee on Discipline (p. 63) section of the 2015 MIT Mind and

Hand Book, VII (2), states:

       The Institute’s mission encourages students to explore in order to advance
       knowledge at the highest level. It also expects its students to uphold the highest
       standards of respect, integrity, and civility. With this context, the Committee on
       Discipline (COD) was created to resolve complaints of alleged violations of
       policies and/or community standards by a student or former student in a way that
       is objective and educational, not legalistic or adversarial.

       The Rules and Regulations of the COD govern how cases of alleged misconduct by
       student shall be resolved. The rules are available online at http://cod.mit.edu and in
       print from the Office of Student Citizenship, W20-507, 617-253-3276,
       citizenship@mit.edu.

       20.     The Policies Regarding Student Behavior, Sexual Misconduct (p. 27) section of the

2015 MIT Mind and Hand Book, II (18), states:

       The Massachusetts Institute of Technology is committed to the principle of equal
       opportunity in education and employment. The Institute does not discriminate
       against individuals on the basis of race, color, sex, sexual orientation, gender
       identity, religion, disability, age, genetic information, veteran status, ancestry, or
       national or ethnic origin in the administration of its educational policies, admissions
       policies, employment policies, scholarship and loan programs, and other Institute
       administered programs and activities, but may favor US citizens or residents in
       admissions and financial aid.

       21.     Title IX of the Education Amendments Act of 1972 provides in relevant part that

“[n]o person in the United States shall, on the basis of sex, be excluded from participation in, be

denied the benefits of, or be subjected to discrimination under any education program or activity

receiving Federal financial assistance.” 20 U.S.C. § 1681(a). Title IX applies to all public and

private educational institutions that receive federal funds, including colleges and universities. MIT

is a recipient of federal funds and is therefore bound by Title IX and its regulations.



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       22.     On April 4, 2011, the Office for Civil Rights (“OCR”) of the U.S. Department of

Education (“DOE”) sent a “Dear Colleague Letter” to colleges and universities (hereinafter

referred to as the “April 2011 Dear Colleague Letter”). The “April 2011 Dear Colleague Letter,”

while now revoked, was in effect when MIT’s disciplinary procedures were put in place and the

alleged sexual assault occurred in this case. Before the 2011 Dear Colleague Letter, colleges and

universities generally did not use its disciplinary procedures to adjudicate sexual misconduct cases

and certainly not in the manner and frequency that they have since the issuance of the April 2011

Dear Colleague Letter. The April 2011 Dear Colleague Letter thus provides a necessary set of

background facts to this action: http://www2.ed.gov/about/offices/list/ocr/letters/colleague-

201104.html.

       23.     Although the April 2011 Dear Colleague Letter marked a substantial change in

OCR’s position on how schools should handle disciplinary proceedings under Title IX, OCR did

not conduct the public notice and comment process required for proposed regulations. See 5 U.S.C.

§ 553. The 2011 Dear Colleague Letter (p. 1) defined discrimination on the basis of sex to include

sexual harassment of students, which was defined to include acts of sexual violence. The April

2011 Dear Colleague Letter provided that, in order to comply with Title IX, colleges and

universities must have prompt procedures to investigate and resolve complaints of sexual

misconduct.

       24.     The press release announcing the April 2011 Dear Colleague Letter stated that it

was “the first specifically advising schools, colleges and universities that their responsibilities

under Title IX include protecting students from sexual violence” and that it included “new steps to

help our nation’s schools, universities and colleges end the cycle of sexual violence on campus.”

The press release made clear the focus was on protecting women: it stated that despite past progress



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“the threat of violence and abuse continues for a new generation of women”; it lauded the

“unprecedented coordination and cooperation across the federal government to combat violence

against women”; it stated that one in five women “will be a victim of sexual assault during college”

(a statistic that would later be thoroughly discredited that, if had it been true, would represent triple

the rate of rape for the same demographic in war-torn Somalia)2; and it highlighted “the

Administration’s commitment to raising awareness and promoting policies to prevent sexual

violence against women of all ages.”

         25.     The April 2011 Dear Colleague Letter itself explicitly focused on protection of

women and effectively equated “victims” and “complainants” in sexual misconduct proceedings

as women who must receive preferential treatment. For instance, the April 2011 Dear Colleague

Letter: (i) stated -- incorrectly -- that “1 in 5 women are victims of completed or attempted sexual

assault while in college” (p. 2); (ii) warned that “the majority of campus sexual assaults occur

when women are incapacitated, primarily by alcohol” (p. 2); (iii) suggested educational institutions

seek grants from the U.S. Department of Justice’s Office on Violence against Women, which

require institutions to “develop victim service programs and campus policies that ensure victim

safety, [and] offender accountability . . .” (p. 19); and (iv) warned educational institutions that they

must “never” view the “victim at fault for sexual violence” if she has been using “alcohol or drugs”

and asks “schools to consider” providing students who violate alcohol or drug policies with

amnesty if they allege they were sexually assaulted while consuming alcohol or drugs (p. 15).

         26.    The 1 in 5 “statistic” cited by the April 2011 Dear Colleague Letter came from a

disputed 2007 study, which was based on an overly broad definition of sexual assault and which,

according to the study authors, was not derived from a nationally representative sample. Schow,



2
    Somalia Human Development Report, UN Development Programme, 2012, Table A4-28.
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“No, 1 in 5 Women Have Not Been Raped on College Campuses,” Washington Examiner, August

13, 2014, http://www.washingtonexaminer.com/no-1-5-women-have-not-been-raped-on-college-

campuses/articles/2551980.

       27.    A Bureau of Justice Statistics (DOJ) study, 1995-2013, published in December

2014 found that college-age female students on campus were less likely to be victims of sexual

assault than non-students and the real number of college women assault victims is .03 in 5; these

statistics do not support the notion of a “crisis” of violence against women. Rape and Sexual

Assault Victimization among College Age Females, 1995-2013 (Special Report), U.S. Department

of Justice, December 2014, http://www.bjs.gov.content/pub/pdf/ravcaf9513.pdf.

       28.    The April 2011 Dear Colleague Letter, in order to provide females what was

unjustified preferential treatment, imposed numerous mandates that inherently made it more

difficult for males accused of sexual misconduct to defend themselves. The “April 2011 Dear

Colleague Letter” (pp. 10-11) required schools to adopt a relatively low burden of proof -- the

preponderance of the evidence (“more likely than not”) -- in cases involving sexual misconduct,

including sexual assault. Several colleges had been using “clear and convincing,” and some, like

Stanford University, applied the criminal standard, “beyond a reasonable doubt.” The April 2011

Dear Colleague Letter (p. 12) also strongly discouraged allowing cross-examination of

complainants because it “may be traumatic or intimidating” to the alleged victim. The “April 2011

Dear Colleague Letter” stated (p. 12) that schools should give both parties the right to appeal a

decision, which amounts to double jeopardy for an accused student. After the April 2011 Dear

Colleague Letter was published, schools changed their sexual assault and sexual harassment

policies and procedures. Additionally, the “April 2011 Dear Colleague Letter” stated (pp. 15-16)




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that schools should “minimize the burden on the complainant,” transferring alleged perpetrators,

if necessary, away from shared courses or housing.

       29.     On April 29, 2014, the OCR published a document signed by then Assistant

Secretary of Education in charge of the OCR Catherine E. Lhamon (“Secretary Lhamon”) and

bearing the title “Questions and Answers on Title IX and Sexual Violence.” (the “2014 Q&A”):

http://www2.ed/gov./about/offices/list/ocr/docs/qa-201404-title-ix.pdf. The 2014 Q&A continued

OCR’s effort to restrict students’ ability to defend themselves by reducing or eliminating the

ability to expose credibility flaws in the allegations made against them. For example, OCR’s

2014 Q&A states that schools: (i) “must not require a complainant to be present” at sexual

misconduct disciplinary hearings” (p. 30); (ii) may decide to eliminate all opportunities for

“cross-examination” (p. 31); and (iii) must avoid “revictimization” by minimizing the number of

times a victim is interviewed so “complainants are not unnecessarily required to give multiple

statements about a traumatic event” (pp. 30, 38).

       30.     Neither OCR’s April 2014 Q&A nor the April 2011 Dear Colleague Letter were

subject to notice-and-comment rule-making, yet both the OCR’s April 2014 Q&A and the April

2011 Dear Colleague Letter constituted substantive decision-making.

       31.     The Obama Administration, through the DOE and OCR, treated the April 2011

Dear Colleague Letter as binding on regulated parties for all practical purposes and thus has

pressured colleges and universities to aggressively pursue investigations of sexual assaults on

campuses. Then Secretary Lhamon, Assistant Secretary of the Department of Education (“DOE”)

in charge its Office for Civil Rights (“OCR”), delivered what was treated as marching orders by

colleges and universities.




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       32.      In February 2014, Assistant Secretary Lhamon told college officials attending a

conference at the University of Virginia that schools need to make “radical” change. According to

the Chronicle of Higher Education, college presidents said afterward that there were “crisp

marching orders from Washington.” “Colleges Are Reminded of Federal Eye on Handling of

Sexual-Assault Cases,” Chronicle of Higher Education, February 11, 2014.

       33.      In June 2014, then Assistant Secretary Lhamon testified at a Senate Hearing in that

“some schools are still failing their students by responding inadequately to sexual assaults on

campus. For those schools, my office and this Administration have made it clear that the time for

delay is over.” Assistant Secretary Lhamon stated at the Senate Hearing in June 2014 that “we do”

expect institutions to comply with the 2011 Dear Colleague Letter. Assistant Secretary Lhamon

told the Senate Committee, “This Administration is committed to using all its tools to ensure that

all schools comply with Title IX . . .” She further told the Committee: “If OCR cannot secure

voluntary compliance from the recipient, OCR may initiate an administrative action to terminate

and/or refuse to grant federal funds or refer the case to the DOJ to file a lawsuit against the school.”

Assistant Secretary Lhamon additionally stood behind the “April 2011 Dear Colleague Letter.”

       34.      To revoke federal funds -- the ultimate penalty -- is a powerful tool because

educational institutions receive billions of dollars a year from the federal government. Anne Neal

of the American Council of Trustees and Alumni was quoted as follows: “There is a certain

hysteria in the air on this topic, . . . It's really a surreal situation, I think.” She explained that

“schools are running so scared of violating the civil rights of alleged victims that they end up

violating the due process rights of defendants instead.” “How Campus Sexual Assaults Came To

Command New Attention,” NPR, August 12, 2014.




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       35.     On October 27, 2014, MIT then Chancellor Cynthia Barnhart, a woman, issued a

letter to the MIT community reflecting the mentality of the April 2011 Dear Colleague Letter:

       In response to President Reif's charge that we take action to combat sexual assault
       at MIT, last spring my office conducted an online survey to understand the extent
       and effects of sexual misconduct in our community. I write now to share what we
       have learned so far and explain the first round of actions we are taking in response.

       The survey we created is the first of its kind for our community: we sent it to all
       undergraduate and graduate students (10,831 people), and we asked extensive,
       detailed questions designed to bring clarity to a subject that is inherently sensitive
       and difficult. We launched the survey on April 27, 2014, two days before the White
       House Task Force called on all US colleges and universities to survey their students
       on these matters.

       We received survey replies from 3,844 – or 35% – of our students. Because the
       survey was not a random sample and was voluntary, and the topic of unwanted
       sexual behaviors is focused, we know the results reflect a degree of self-selection.
       Since it is impossible to tell how this may have altered the results, it would be a
       mistake to use these numbers to generalize about the prevalence of unwanted sexual
       behavior in the lives of all MIT students.

       Nevertheless, the survey clearly tells us that, like many other colleges and
       universities, we face a serious problem:

       The national conversation has focused on the widely cited statistic that 19% of
       undergraduate women, or one in five, experience rape or sexual assault under
       conditions of force, threat or incapacitation. At MIT, for those female
       undergraduates who responded to the survey, the comparable figure is nearly 17%.

       Our survey asked questions designed to capture not only sexual assault by force,
       threat of harm, or incapacitation due to alcohol or drugs, but also to uncover a
       broader picture of unwanted sexual behavior in our community. Of all the students
       who responded to the survey -- graduate and undergraduate, of all genders -- 539
       indicated that, while at MIT, they had experienced some type of unwanted sexual
       behavior, ranging from unwelcome verbal sexual conduct to rape, usually
       committed by someone they knew. Of those 539 respondents [to the survey], 284
       were undergraduate women.

       36.     The referenced survey was conducted and analyzed by eight women and one male

administrator at MIT: https://web.mit.edu/surveys/casatips/index.html. The survey describes

various efforts that took place just before the time of John Doe’s case, including having a dedicated



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Title IX office, hiring two new staff members to address gender-based inequities, setting up task

forces to investigate sexual misconduct, and conducting marketing campaigns to advertise

resources for alleged sexual assault victims.

       37.     With this mentality and approach, which included acceptance of a false statistic of

1 in 5 college women being subject to sexual assault, MIT proceeded vigorously to prosecute male

students accused of sexual assault. MIT Chancellor Cynthia Barnhart, during her tenure, took

pride in her efforts with respect to what was called combatting sexual misconduct.

       38.     The Obama era procedures, however, led to litigation challenging what colleges

and universities were doing in sexual misconduct proceedings in unfairly treating male

respondents in violation of Title IX. See Doe v. Columbia, 831 F.3d 46 (2d Cir. 2016) (Title IX

complaint upheld of male plaintiff who had been a suspended student as a result of university

sexual misconduct proceeding).

       39.     In September 2017, the DOE took first steps toward restoring procedures that would

provide basic fairness to both accusing and accused students in Title IX proceedings. Recognizing

the harmful results of the April 2011 Dear Colleague Letter, then Secretary of Education Betsy

DeVos observed that “[n]o school or university should deprive any student of his or her ability to

pursue their education because the school fears shaming by—or loss of funding from—

Washington,” that “no student should be forced to sue their way to due process,” and that “[o]ne

person denied due process is one too many.” On September 7, 2017, then Department of Education

Secretary Betsy DeVos denounced the campus sexual misconduct proceedings as denying due

process in a manner that is wholly un-American: www.ed.gov/news/speeches/secretary-devos-

prepared-remarks-title-ix-enforcement.




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       40.       Then, on September 22, 2017, the Department of Education announced that it was

withdrawing the 2011 Dear Colleague Letter and the 2014 Questions & Answers on Title IX

Sexual Violence, noting in part the criticism of those documents for placing “improper pressure

upon universities to adopt procedures that do not afford fundamental fairness” and are

“overwhelmingly stacked against the accused.” This withdrawal effected a reversion to 2001

Department of Education guidance, which reads in relevant part: “The Constitution also guarantees

due process to students in public and State-supported schools who are accused of certain types of

infractions. The rights established under Title IX must be interpreted consistent with any federally

guaranteed due process rights involved in a complaint proceeding.”

       41.       Until Title IX regulations were issued in May 2020, many schools and universities

continued to adhere to its Obama era procedures, including MIT. Meanwhile, then DOE Secretary

DeVos had the DOE conduct notice and comment procedures of the Administrative Procedures

Act on Title IX procedures for the sexual misconduct proceedings conducted by colleges and

universities. According to then Secretary DeVos, one influential decision was Doe v. Purdue, 928

F.3d 652 (7th Cir. 2019), in which then Seventh Circuit Judge Amy Coney Barrett for a three-

woman panel upheld a Title IX and due process complaint of a male student who had been a

suspended student as a result of university sexual misconduct proceeding. After the Title IX

regulations were finally issued in May 2020 to take effect in August 2020, colleges and universities

did change their procedures. But all of those developments in Title IX post-dated the events of this

case, which occurred in the 2013-2016 time period when the April 2011 Dear Colleague Letter

was in effect.




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B.     John Doe’s Disciplinary Case.

       42.     During the 2013-2014 school year at MIT, when John Doe and Jane Roe both were

in their first year at MIT, John Doe and Jane Roe had a personal relationship that included their

having regular sexual intercourse multiple times every week. It was the first serious relationship

that John Doe had in his life; previously, he had been a virgin.

       43.     Over the summer of 2014, Jane Roe broke off the relationship, but when the two

returned to MIT for the 2014-2015 school year, they resumed seeing and interacting with each

other and spending time together because they were in a number of the same classes and Jane Roe

would go over to John Doe’s residence hall room and get assistance with her class work, as Jane

Roe struggled in her classes. John Doe hoped his assistance to Jane Roe would rekindle the

romance of the relationship because he loved her. According to John Doe, in the first semester of

the 2014-2015 school year, even though the two had broken up, John Doe and Jane Roe had

consensual sexual intercourse on average about once a month and often at the initiation of Jane

Roe. John Doe and Jane Roe agree that in November 2014, John Doe and Jane Roe had consensual

sexual intercourse.

       44.     On the night of February 26-27, 2015, Jane Roe went to John Doe’s residence hall

room with her laptop computer because John Doe was the only person whom she knew could fix

the problems she was having. Jane Roe spent two to three hours in John Doe’s room as he worked

on her computer. During the course of the evening, John Doe kissed Jane Roe on her cheek or

forehead a number of times.

       45.     Because of the wintry weather conditions outside and because Jane Roe was tired

from her studies, it was discussed and then agreed by Jane Roe and John Doe that Jane Roe would




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stay the night in John Doe’s room and sleep in his bed, which she did. John Doe joined her, and

the two “spooned” while they both slept.

       46.     In the early morning hours of February 27, 2015, John Doe woke up, used the

bathroom and then when he returned to the bed and fell asleep for two hours. He woke up lying

on his back and found Jane Roe resting her body on top of his. Jane Roe pushed her body into John

Doe’s, demonstrating a desire to engage in sexual intercourse. John Doe engaged in foreplay with

Jane Roe, which she breathed heavily and made noises, reflecting that she was enjoying the

pleasure of the foreplay. John Doe proceeded to remove items of Jane Roe’s clothing with Jane

Roe positioning herself to make such removal easier, for which she made noises in approval, and

to give oral sex to Jane Roe and then to have sexual intercourse. Throughout the removal of

clothing and sexual intercourse, John Doe observed Jane Roe as fully conscious, alert, and with

wide open eyes. In fact, Jane Roe made moaning sounds, reflecting her enjoyment in the sexual

act.

       47.     Shortly after, Jane Roe asked John Doe what they did. John Doe, astonished at Jane

Roe’s question, stated they had sex. When Jane Roe left John Doe’s room, Jane Roe did not appear

upset at all. The only time the subject of the night of February 26-27, 2015 came up thereafter was

in the following April 2015 at Jane Roe’s sorority where John Doe went at Jane Roe’s request to

fix Jane Roe’s computer; Jane Roe said to John Doe that the sex they had when she was asleep

was not okay. But John Doe and Jane Roe had many interactions in 2015 after the night of February

26-27, 2015, both before and after the brief comment in April 2015 at Jane Roe’s sorority, and

despite many further interactions between John Doe and Jane Roe, John Doe heard nothing from

Jane Roe about the night of February 26-27, 2015, until Jane Roe filed her university disciplinary

complaint the following January 2016, nine months later.



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       48.     On January 26, 2016, John Doe’s former girlfriend Jane Roe filed a complaint with

MIT alleging nonconsensual sexual contact and nonconsensual sexual intercourse by John Doe

based on one night involving sexual intercourse on February 27, 2015, almost a year earlier than

when the complaint was filed by Jane Roe with MIT ’s Title IX Office.

       49.     Upon the filing of Jane Roe’s disciplinary complaint, MIT’s Title IX office

launched an investigation, interviewing John Doe, Jane Roe and other students and reviewing

various documents. The two investigators were women who expressed radical feminist attitudes.

One of the investigators, who after graduating from law school, worked as a Victim Advocate at a

Women’s Center and then was employed as a Title IX investigator at MIT.

       50.     At the first meeting with the investigators, the Title IX investigator specifically

advised John Doe not to hire an attorney, stating that an attorney would not be any help since they

would not be able to attend or speak at the investigation meetings and would be a waste of money.

Instead, the Title IX investigator said they could provide a list of “trained” MIT advisors. The

advisor that John Doe selected turned out to be a grad student advisor who contributed nothing to

helping John Doe. At a second meeting with the investigators, the investigators spoke to John Doe

in a manner indicating that they presumed John Doe not to be truthful, stating that they had “caught

him” and asked him to clarify supposed contradictions in his account of the events of the morning

which didn’t exist.

       51.     At the same time, the investigators did not explore any of the contradictions

contained within complainant Jane Roe’s story. Instead, during the course of the investigation,

MIT’s investigators on its own initiative asserted a second charge against John Doe -- sexual

harassment by John Doe based on the period of time when John Doe was Jane Roe’s boyfriend in

the 2013-2014 school year, two years prior to Jane Roe’s filing of the complaint with MIT’s Title



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IX Office. The MIT investigators conducted themselves as a roving commission seeking to ferret

out supposed male sexual misconduct.

       52.     Radical feminist anti-male bias on the MIT campus guided the investigation

report’s conclusions, which included that the female complainant’s story was presumed to be true

(which the evidence showed it wasn’t) and that John Doe was presumed not to be truthful in order

to avoid being found responsible (which the evidence showed wasn’t the case). The investigators

erroneously found John Doe responsible for (i) nonconsensual sexual contact and nonconsensual

sexual intercourse based on the sex that occurred on February 27, 2015 and (ii) sexual harassment

based on the period of time when John Doe was Jane Roe’s boyfriend in the 2013-2014 school

year. John Doe was not allowed to submit a written rebuttal to the investigation report.

       53.     On April 25, 2016, MIT held a hearing before a panel of three professors, two of

whom were women. The hearing panel had the investigation report but not a rebuttal from John

Doe to the investigation report. At the hearing, John Doe denied responsibility. Only two days

later, on April 27, 2016, the Chair of the MIT Committee on Discipline sent John Doe a letter

informing him that MIT found him (erroneously) responsible for (i) nonconsensual sexual contact

and nonconsensual sexual intercourse on February 27, 2015 and (ii) for sexual harassment during

the time of the 2013-2014 school year and that the sanction was expulsion -- in effect, rubber

stamping the investigation report.

       54.     John Doe filed with MIT an appeal of the sanction, arguing that the evidence did

not support the panel’s findings and did not support the sanction of expulsion. As alleged above,

John Doe had been a virgin before his relationship with Jane Roe. John Doe’s appeal included the

following:

       During the investigation, I explained . . . that I had effective consent because of
       [Jane Roe]’s actions and sounds before and during the event. These include her

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responding to my question about returning to working on PSets (suggesting that she
was, in fact, awake), her pushing her rear end into me while we were spooning, her
lifting her rear end so that I could pull off her pants, and her lifting her shoulders
so I could remove her bra. She also consistently made moaning sounds during the
entire process, starting from the very beginning and continuing until it was over.

The rationale used by the COD [Committee on Discipline] and Title IX
investigation in finding me responsible for misconduct is that a reasonable person
should know that these actions do not constitute effective consent, because a person
who is asleep can perform any of these actions. While I agree that this is true, it less
likely that a person will perform all of these activities, within minutes of each other,
as had happened that morning. Furthermore, what happened that morning was not
unlike the way we initiated sex in the past. In the past, we never explicitly asked
for consent, it was always inferred by actions and sounds that we made, such as
moaning to indicate enjoyment and moving to assist with undressing. Therefore, I
believe that, given the context of our previous sexual experiences, the way [Jane
Doe] was moving on the bed, the sounds that she was making, and that all these
were occurring at the same time, a reasonable person could also have concluded
that [Jane Doe] was giving effective consent.

. . . [H]ad I known that [Jane Roe] was in fact asleep, I would certainly not have
engaged in sexual activities with her. However, as I said in the previous paragraph,
I truly thought I had effective consent. . . .

I feel that the COD [Committee on Discipline]’s decision to sanction me to
expulsion is extreme. . . :

       1)      Our sexual relationship never required verbal confirmations, and
       neither does MIT’s policy. We have had sex hundreds of times before this
       incident, and many of them developed the same way as it had that morning.
       Based on this, I do not think it was unreasonable for me to have concluded
       that I had effective consent.

       2)     There is no “indication that similar behavior could occur again,”
       unlike what the COD [Committee on Discipline] is assuming. Since
       learning [Jane Roe]’s feelings after the incident, I have learned to always
       made sure to explicit ask for consent with my current girlfriend and will
       continue to do so for the rest of my life. This incident has shown me that it
       is possible to misinterpret signals, and doing so can have drastic
       consequences. To avoid anything like this from happening in the future, I
       will make sure to get explicit consent.

       3)      One of the COD [Committee on Discipline]’s concerns and
       assumptions is that, even now, I “have not taken responsibility for [your]
       behavior or acknowledged the impact of [your] actions on the complainant.”
       I want to point out that the notion of taking responsibility is more nuanced

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               than the yes or no answer that the committee was expecting me to give. As
               explained above, I truly thought I had effective consent. I was willing to
               take responsibility for making a terrible judgement call, but that is different
               from taking responsibility for sexual assault, which is what the COD
               [Committee on Discipline] was asking. Under MIT policy, sexual assault
               not only includes whether effective consent was given, but also whether a
               reasonable person would have perceived effective consent. I believe that
               there was sufficient evidence, given the context of hundreds of sexual
               experiences with [Jane Roe], to have assumed effective consent. Also, I did
               acknowledge the impact of my actions on [Jane Doe] to my advisor at the
               hearing, but I did not think the hearing was the right place to express those
               thoughts (I had been given the impression the hearing and investigations
               were purely factual).

       55.     On May 13, 2016, MIT then Chancellor Cynthia Barnhart sent a letter to John Doe

denying his appeal, stating without explanation that the responsibility finding was not substantially

against the weight of the evidence and that expulsion was within the range of permissible sanctions.

       56.     John Doe was thus expelled, just short of his expected graduation from MIT, with

only final exams and final projects to complete. Based on John Doe’s historic excellent academic

performance at MIT, John Doe would have passed his final exams and projects with flying colors.

       57.     John Doe has suffered and will continue to suffer significant damages as a result of

MIT’s finding of responsibility and expulsion.

       58.     But for MIT’s unwarranted sanction of expulsion, John Doe would have graduated

with a diploma from MIT, a prestigious institution known for its academic rigor.

       59.     As a result of MIT’s flawed investigation, and resulting erroneous decision to expel

John Doe, he has suffered from severe emotional distress and anxiety.

       60.     Moreover, by marring John Doe’s academic record with this expulsion, John Doe

will experience reputational damage for years to come.




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        61.     This action has therefore been brought to rectify the breach of contract and

promissory estoppel that has greatly damaged John Doe, including by the denial of the diploma

John Doe had all but earned.

                                 FIRST CAUSE OF ACTION:
                                 State Law Breach of Contract

        62.     John Doe repeats and re-alleges each and every allegation hereinabove as if fully

set forth herein.

        63.     An express and/or implied contract under Massachusetts law was created when

John Doe accepted an offer of admission to MIT and paid the tuition and fees.

        64.     It is well-established that the relationship between a student and his educational

institution is contractual in nature, with the terms of contract established by the student handbook

and other related policies. See Doe v. W. New England Univ., 228 F. Supp. 3d 154, 169 (D. Mass.

2017); Doe v. Brandeis Univ., 177 F. Supp. 3d 561, 593 (D. Mass. 2016).

        65.     The 2015 MIT Mind and Hand Book has sections for sexual assault awareness and

resources for alleged sexual misconduct complainants, but not for sexual misconduct respondents.

        66.     The Rules and Regulations of the COD govern how cases of alleged misconduct by

student shall be resolved. Among other things, the burden of proof is on the University to show

that a violation has occurred before any sanctions are imposed.

        67.     MIT breached its contract with John Doe when it failed to conduct an objective,

impartial process and instead conducted a legalistic and adversarial process against a male

respondent over events that involved a young man and young woman who had been in a personal

relationship. With respect to the allegation of nonconsensual sexual penetration, the events were

1¼ years old. With respect to the allegations of the nonconsensual sexual contact, the events were

2 years old.

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       68.     MIT breached its contract with John Doe when it did not adhere to the requirement

of the burden of proof when presuming the female complainant’s story was true (which the

evidence showed it wasn’t) and presuming John Doe was not truthful in order to avoid being found

responsible (which the evidence showed wasn’t the case).

       69.     MIT breached its contract with John Doe when it did not adhere to the requirement

of the burden of proof when the investigators and Hearing Panel found John Doe responsible for

(i) nonconsensual sexual contact and nonconsensual sexual intercourse based on the sex that

occurred on February 27, 2015 and (ii) sexual harassment based on the period of time when John

Doe was Jane Doe’s boyfriend in the 2013-2014 school year -- effectively disregarding the facts

and circumstances presented to the investigators and the hearing panel by John Doe showing

consent on the part of his former girlfriend with whom even after their break up he had continued

to have sexual intercourse without complaint and indeed initiated by Jane Roe.

       70.     MIT breached its contract with John Doe when it failed to afford John Doe an

opportunity to submit a rebuttal to the investigation report. Without that rebuttal, the hearing panel

had only the investigator report in writing and relatively quickly rubber stamped its conclusions.

       71.     MIT breached its contract with John Doe when it permitted gender bias to be a

motivating factor behind the expulsion imposed upon John Doe based on the allegations of the

female Complainant Jane Roe concerning an alleged incident in February 2015 about which

Complainant Jane Roe did not complain to the police ever and based on the charge not originally

made by Jane Roe but developed by the investigators that John Doe had engaged in sexual

harassment of sexual harassment during the period of time when John Doe was Jane Roe’s

boyfriend in the 2013-2014 school year. Gender bias is implicit in the imposition of an expulsion

based on the female’s allegations that were treated as presumptively true -- despite the lack of a



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timely complaint, despite the lack of medical and physical evidence, and despite the contradictions

in the female’s own story. MIT maintained a female victim oriented disciplinary process for sexual

misconduct that has been anti-male in operation because almost all complainants are female and

almost all respondents are male and because MIT has provided ample resources to female

complainants but none to male respondents.

        72.     MIT breached its contract with John Doe by discriminating against John Doe on

the basis of sex in violation of The Policies Regarding Student Behavior, Sexual Misconduct (p.

27) section of the 2015 MIT Mind and Hand Book, II (18), which states that MIT “is committed

to the principle of equal opportunity in education and employment” and “does not discriminate

against individuals on the basis of race, color, sex. . . .”

                                 SECOND CAUSE OF ACTION:
                                     Promissory Estoppel

        73.     John Doe repeats and re-alleges each and every allegation hereinabove as if fully

set forth herein.

        74.     The 2015 MIT Mind and Hand Book contains unambiguous representations and

promises that MIT should have reasonably expected to induce action or forbearance on the part of

John Doe.

        75.     MIT expected or should have expected John Doe to accept its offer of admission

and choose not to attend other colleges based on its express and implied promises including, but

not limited to: the opportunity to attain his educational objectives, to have his health, safety,

welfare and human rights protected, to have any claims brought against him under the Policies be

heard by an impartial and objective panel, to be free from discrimination, and to have complaints

resolved impartially and promptly.




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          76.   John Doe reasonably and foreseeably relied to his detriment on these express and

implied promises and representations made by MIT, by choosing to attend MIT rather than other

schools of equal caliber.

          77.   These express and implied promises and representations made by MIT must be

enforced to prevent substantial injustice to John Doe.

          78.   Based on the foregoing, MIT is liable to John Doe based on promissory estoppel.

          79.   As a direct and proximate result of the above conduct, John Doe sustained

tremendous damages, including, without limitation, emotional distress, damages to reputation,

psychological damages, loss of educational and career opportunities, reputational damages,

economic injuries and other direct and consequential damages.

          80.   As a result of the foregoing, John Doe is entitled to damages in an amount to be

determined at trial, plus prejudgment interest, attorneys’ fees, expenses, costs and disbursements.

                                 THIRD CAUSE OF ACTION:
                           Breach of Contract/Common Law: Denial of
                    Basic Fairness/Arbitrary and Capricious Decision-Making

          81.   John Doe repeats and re-alleges each and every allegation hereinabove as if fully

set forth herein.

          82.   Massachusetts courts have held that a private university may not act “arbitrarily or

capriciously” in disciplining a student. Doe v. Brandeis Univ., 177 F. Supp. 3d 561, 600 (D. Mass.

2016).

          83.   “A covenant of good faith and fair dealing is implied in ever contract and a

university has an obligation to adhere to this covenant when dealing with students.” Doe v.

Harvard Univ., 462 F. Supp. 3d at 66 (citing Doe v. Trs. of Boston Coll., 892 F.3d 67, 87 (1st Cir.

2018)).



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       84.     Specifically, “[s]chool disciplinary hearings must be “conducted with basic

fairness.” Cloud v. Trustees of Boston University, 720 F.2d 721, 725 (citing Coveney v. President

& Trustees of Holy Cross College, 445 N.E.2d 136, 139 (1983); Schaer v. Brandeis University,

432 Mass. 474, 481, 735 N.E.2d 373, 380 (2000).

       85.     Consistent with the implied covenant of good faith and fair dealing, the 2015 MIT

Mind and Hand Book states its commitment to “resolve complaints of alleged violations” in a way

that is “objective and educational” and not adversarial.

       86.     MIT had a duty to ensure that proceedings against John Doe were conducted in

good faith and basic fairness.

       87.     While “‘[b]asic fairness’ is an uncertain and elastic concept, and there is little case

law to serve as guideposts in conducting the fairness inquiry” (Doe v. Brandeis Univ., 177 F. Supp.

at 601), “[i]n this context, at least, there are two principal threads to the “fairness” inquiry. The

first is procedural fairness—that is, whether the process used to adjudicate the matter was sufficient

to provide the accused student a fair and reasonable opportunity to defend himself. The second is

substantive fairness—that is, even if the procedure was fair, whether the decision was unduly

arbitrary or irrational, or tainted by bias or other unfairness. Doe v. Brandeis, 177 F.Supp. 3d at

602.

       88.     MIT breached this duty of good faith and basic fairness when it failed to investigate

and adjudicate the allegations in an objective and fair manner. By way of example and not

limitation:

               a.      From the onset of the investigation, the investigators strongly dissuaded

                       John Doe from hiring an attorney to serve as his advocate, thus stripping of

                       his ability to put forth his best defense to combat the charges.



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               b.      The investigators displayed rudeness and hostility towards John Doe during

                       his interview.

               c.      The investigators presumed John Doe was not telling the truth.

               d.      The hearing panel rubber-stamped the investigation report.

       89.     Additionally, MIT did not afford Doe any opportunity at all to submit a rebuttal to

the investigation report. Fairness warrants that the accused should have an opportunity to submit

a response to any such report that would result in a sanction as severe as expulsion.

       90.     MIT further breached this duty when it forced John Doe to appear for a hearing,

without an attorney advisor, after purposely dissuading him from doing so.

       91.     MIT further breached this duty when it found John Doe responsible for sexual

misconduct, and expelled him, despite the substantial lack of evidence supporting such a finding

and John Doe’s vehement assertions of innocence.

       92.     Lastly, MIT denied Doe the right to an effective appeal by unreasonably

circumscribing the grounds for appeal. (“Conspicuously absent from that list is the ability to appeal

on the ground that the Special Examiner’s decision was not supported by the evidence, or that it

was otherwise unfair, unwise, or simply wrong.” (Doe v. Brandeis Univ., 177 F. Supp. 3d 561, 607

(D. Mass. 2016).)

       93.     In his appeal, among the procedural errors defined, John Doe described that the

rationale utilized by MIT in dispensing the decision against him was wrong and illogical. John

Doe highlighted that he indeed had affirmative consent, articulating exactly how so. He further

reiterated that this in fact met the 2015 Mind and Hand Book’s definition of consent.




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       94.     MIT Chancellor Cynthia Barnhart denied his appeal on May 13, 2016, with a

perfunctory explanation that did not address the flawed rationale that resulting in the finding of

responsibility and excessive sanction against John Doe.

       95.     Based on the aforementioned facts and circumstances, MIT breached its express

and/or implied contract with John Doe because MIT breached and violated a covenant of good

faith and fair dealing implied in the agreement(s) with John Doe. MIT failed its duty of good faith

and fair dealing when it committed the procedural and substantive errors complained of above,

meted out a disproportionate sanction and with a flawed process, found John Doe responsible

despite the lack of evidence in support of Jane Roe’s allegations of sexual misconduct.

       96.     John Doe is entitled to recover damages for MIT’s breach of the express and/or

implied contractual obligations described above. As a direct and proximate result of the above

conduct, John Doe sustained tremendous damages, including, without limitation, emotional

distress, damages to reputation, psychological damages, loss of educational and career

opportunities, economic injuries and other direct and consequential damages.

       97.     As a result of the foregoing, John Doe is entitled to damages in an amount to be

determined at trial, plus prejudgment interest, attorneys’ fees, expenses, costs and disbursements.

                                    PRAYER FOR RELIEF

       WHEREFORE, for the foregoing reasons, John Doe demands judgment as follows:

               (i)    on the first cause of action for breach of contract, a judgment against MIT

                      awarding to John Doe damages in an amount to be determined at trial,

                      including, without limitation, damages to physical well-being, emotional

                      and psychological damages, damages to reputation, past and future

                      economic losses, loss of educational opportunities, and loss of future career



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                         prospects, plus prejudgment interest, attorneys’ fees, expenses, costs and

                         disbursements; and

                 (ii)    on the second cause of action for promissory estoppel, a judgment against

                         MIT awarding to John Doe damages in an amount to be determined at trial,

                         including, without limitation, damages to physical well-being, emotional

                         and psychological damages, damages to reputation, past and future

                         economic losses, loss of educational opportunities, and loss of future career

                         prospects, plus prejudgment interest, attorneys’ fees, expenses, costs and

                         disbursements, and

                 (iii)   on the third cause of action for breach of contract/common law: denial of

                         basic fairness/arbitrary and capricious decision-making, a judgment against

                         MIT awarding to John Doe damages in an amount to be determined at trial,

                         including, without limitation, damages to physical well-being, emotional

                         and psychological damages, damages to reputation, past and future

                         economic losses, loss of educational opportunities, and loss of future career

                         prospects, plus prejudgment interest, attorneys’ fees, expenses, costs and

                         disbursements; and

                 (iv)    awarding John Doe such other and further relief as the Court deems just,

                         equitable and proper.

                                         JURY DEMAND

          Plaintiff John Doe demands a trial by jury of all issues presented herein that are triable by

a jury.




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Dated: December 16, 2021                  Respectfully submitted,
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